   Case 23-12365-SLM                Doc 9 Filed 03/26/23 Entered 03/27/23 00:17:57                               Desc Imaged
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Form oscmsdoc − oscmissdocv27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−12365−SLM
                                         Chapter: 11
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Masahiko Negita                                          Yasuko Negita
   8 Floral Terrace                                         8 Floral Terrace
   Tenafly, NJ 07670                                        Tenafly, NJ 07670
Social Security No.:

Employer's Tax I.D. No.:


                       ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                  DISMISSED FOR FAILURE TO FILE DOCUMENTS OR EXTEND TIME
    The debtor filed a petition on March 23, 2023 but failed to file the following documents required by Fed. R.
Bankr. P. 1007:

        Summary of Assets/Liabilities and Stat Info − Individuals, Declaration About An Individuals Schedule,
Statement of Financial Affairs For Individuals, Atty Disclosure Statement, Statement of Your Current Monthly
Income(122B), List of Equity Security Holders, Schedules A/B,C,D,E/F,G,H,I,J
     It is hereby ORDERED that:
     The debtor or debtor's attorney must appear at a hearing before the Honorable Stacey L. Meisel on:
    Date: April 18, 2023
    Time: 10:00 AM
    Location: Courtroom 3A, Martin Luther King Jr. Federal Building, 50 Walnut Street, Courtroom 3A, Newark,
NJ 07102

     to show cause why the case should not be dismissed.

     If all required documents are filed with the Clerk before the hearing date, this Order to Show Cause will be
vacated and no appearance is required.

     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

      Unless all required documents are filed before the hearing date on this Order to Show Cause, you must appear
at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.

IMPORTANT: Any document filed must be the most recent version of the applicable Official or Local Form.
Please check www.njb.uscourts.gov to find updated forms.
   Case 23-12365-SLM    Doc 9 Filed 03/26/23 Entered 03/27/23 00:17:57   Desc Imaged
                             Certificate of Notice Page 2 of 4
Dated: March 24, 2023
JAN: wdh

                                 Stacey L. Meisel
                                 United States Bankruptcy Judge
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-12365-SLM
Masahiko Negita                                                                                                        Chapter 11
Yasuko Negita
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 24, 2023                                               Form ID: oscmsdoc                                                          Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 26, 2023:
Recip ID                  Recipient Name and Address
db/jdb                    Masahiko Negita, Yasuko Negita, 8 Floral Terrace, Tenafly, NJ 07670

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Mar 24 2023 20:51:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 26, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 24, 2023 at the address(es) listed
below:
Name                               Email Address
Barry J. Roy
                                   on behalf of Joint Debtor Yasuko Negita broy@rltlawfirm.com

Barry J. Roy
                                   on behalf of Debtor Masahiko Negita broy@rltlawfirm.com

Jeffrey A. Cooper
                                   on behalf of Joint Debtor Yasuko Negita jcooper@rltlawfirm.com cooperatty@aol.com;rgaydos@rltlawfirm.com
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                                        Certificate of Notice Page 4 of 4
District/off: 0312-2                                     User: admin                                                          Page 2 of 2
Date Rcvd: Mar 24, 2023                                  Form ID: oscmsdoc                                                   Total Noticed: 2
Jeffrey A. Cooper
                          on behalf of Debtor Masahiko Negita jcooper@rltlawfirm.com cooperatty@aol.com;rgaydos@rltlawfirm.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 5
